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                 EXHIBIT B
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          STATE OF NEW YORK
          SUPREME COURT                 COUNTY OF ALBANY


          In the Matter of the Application of

          BENJAMIN FERRETTI,
                                                                           DECISION AND ORDER
                                                Petitioner,                Index No. 909271-23

                        -against-

         NEW YORK STATE DIVISION OF CRIMINAL
         JUSTICE SERVICES, TOWN OF GLENVILLE,
         GLENVILLE POLICE DEPARTMENT, and
         STEPHEN JANIK,

                                                Respondents.

         For a Judgment Pursuant to Article 78
         of the Civil Practice Law and Rules.



                                                All Purpose Term
                                    Hon. Laura M. Jordan, Supreme Court Justice

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         Jordan, J.

                On July 24, 2023, Petitioner Benjamin Ferretti ("Petition er")-a former New York State

         certified police officer------commenced this proceeding pursuant to CPLR article 78 to challenge a

         determination by Respondent New York State Division of Criminal Justice Services ("DCJS")

         decertifying Petitioner and invalidating his basic training certificate (see NY St Cts Elec Filing

         ["NYSCEF"] Doc No. 1). On October 25, 2023, DCJS filed an answer opposing the relief

         requested in the petition (see NYSCEF Doc No. 29). Respondents Town of Glenville (the

         "Town of Glenville"), Glenville Police Department ("GPD"), and Chief of Police Stephen Janik

         ("Chief Janik") (collectively, the "Glenville Respondents") have filed a motion to dismiss the

         petition in lieu of an answer (see NYSCEF Doc No. 43).

                For the reasons set forth below, the Glenville Respondents' motion is dismiss is granted

         and the petition is denied.

                                                 I. BACKGROUND

                DCJS is authorized, with general advice from the Municipal Police Training Council, "to

         certify the training of police officers who have satisfactorily completed basic training programs"

         (see NYSCEF Doc No. 30 at ,r 6, citing Executive Law§ 841 [3]). No person may serve as a

         police officer unless they have received this certification (see id. at ,r 7, citing General Municipal

         Law§ 209-q [I] [a]), and a previously awarded certification" 'may be permanently invalidated

         upon an officer's removal for cause,'" precluding that person from serving as a police officer in

         the future (see id, quoting General Municipal Law § 209-q [1] [b-1 ]). The chief executive

         officer of any organization which employs police officers is required to immediately notify

         DCJS when a police officer ceases to serve and the reasons for that separation (see NYSCEF

         Doc No. 30 at ,r 9, citing 9 NYCRR § 6056.4 [d]; see also 9 NYCRR § 6056.2 [d]).



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                 In the time period leading up the events underlying this proceeding, Petitioner was a

         police officer employed by the Town of Glenville and GPD who had been certified by DCJS as

         satisfactorily completing his basic training programs (see NYSCEF Doc No. 1 at ~,r I, 3). On

         February 22, 2022, Petitioner was searching a suspect's vehicle in public pursuant to a drug arrest

         when his pinky finger was penetrated by a loose hypodermic needle (see NYSCEF Doc No. 6 at

         2). In reaction to this injury, Petitioner struck the side of the suspect's vehicle in anger, breaking

         his right hand (see id). A sergeant on the scene asked Petitioner what happened, and he replied

         that he "just got stuck with a needle and ... punched the side of the truck" (id.). The sergeant

         then replied, "oh you fell?", to which Petitioner replied in the affirmative (id). Petitioner

         thereafter repeatedly and falsely claimed that he injured his hand falling out of the suspect's

         vehicle both (1) orally to emergency room staff that evening and a doctor two days later; and

         (2) in writing on an incident report, an application for NYS Workers Compensation, and an

         application for General Municipal Law 207-c benefits (see id.).

                On April 7, 2022, Chief Janik-the Chief of Police for GPO-suspended Petitioner and

         served him with a notice of disciplinary charges that charged Petitioner with (1) non-compliance

         with GPD policies and procedures (see NYSCEF Doc No. 54 at 156 [GPD Policy 320.4]);

         (2) misrepresenting material facts on an official document during the course of a work-related

         investigation (see id. at 159 [GPD Policy 320.5.8 [a]]); (3) the falsification of work-related

         records (see id. at 159 [GPD Policy 320.5.8 [b]]); (4) an act on or off-duty that brings discredit to

         GPD (see id. at 159 [GPD Policy 320.5.8 [i]]); (5) criminal, dishonest or disgraceful conduct that

         adversely affected the member's relationship with GPD (see id. at 160 [GPD Policy 320.5.9 [h]]);

         (6) conduct which any member knows or reasonably should know is unbecoming a member of

         GPD (see id at 160 [GPD Policy 320.5.9 [m]]); and (7) violating rules prohibiting the



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         suppression, concealment, or distortion of the facts of any reported incident or making a false

         report (see id. at 169 [GPO Policy 323.41) (see NYSCEF Doc No. 6 at 1-4). The notice of

         disciplinary charges further stated that Petitioner's actions constituted violations of Penal Law §

         175.35 (offering a false instrument for filing in the first degree); Penal Law§ 105.05 (conspiracy

         in the fifth degree); and/or Penal Law§ 176.10 (insurance fraud in the fifth degree) (see

         NYSCEF Doc No. 6 at 3). The notice of disciplinary charges informed Petitioner that if he was

         found guilty of the charges set forth above or failed to grieve the matter as permitted by his

         collective bargaining agreement, he would be terminated from employment with GPD (see id. at

         4).

                 On April 8, 2022, Petitioner served the Town of Glenville with a disciplinary grievance

         denying the charges and requesting a hearing (see NYSCEF Doc No. 5 at 15 ,r 3). Arbitration of

         the notice of disciplinary charges and the disciplinary grievance began on July 19, 2022 (see id.).

         However, before the hearing commenced, the parties met and reached an agreement whereby the

         arbitrator would issue a consent award which (1) required Petitioner to "serve a suspension,

         without pay, of one hundred twenty (120) days ... until August 7, 2022"; (2) prohibited

         Petitioner from acting as a Field Training Officer, an Officer in Charge, or serving in the Traffic

         Safety Unit; and (3) provided that, upon the expiration of his 120-day suspension, Petitioner

         would "be reinstated full time and in good standing, subject to the Chief's discretion to direct an

         alternate assignment" (id. at 15 11 4-5).

                Petitioner returned to duty at GPD on August 7, 2022, and was placed on alternate

         assignment (see NYSCEF Doc No. 1 at~, 42-43; see also NYSCEF Doc No. 9). However, on

         August 31, 2022, Petitioner resigned from his position at GPD in order to-in his words-

         "explore other opportunities in law enforcement in lieu of continuing the current alternate



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         assignment [at GPD]" (NYSCEF Doc No. 5 at 5). Shortly thereafter, on September 8, 2022,

         GPD reported to DCJS that Petitioner's resignation was a standard resignation pursuant to

         9 NYCRR 6056.4 (d) (2) (see NYSCEF Doc No. 30 at 116; see also NYSCEF Doc No. 12 at

         ~5).

                In late January 2023, Chief Janik contacted DCJS via email and phone seeking assistance

         in revising the September 8 report to DCJS and to seek Petitioner's decertification (see NYSCEF

         Doc No. 30 at ~117-18; see also NYSCEF Doc No. 31). After some assistance from DCJS staff,

         on February 15, 2023, Chief Janik sent a formal letter to DCJS requesting that Petitioner's

         "Police Officer Certification be revoked" because Petitioner had (1) committed misconduct that

         was "consistent with conduct justifying removal for cause as defined in [9 NYCRR §]

         6056.2 (h) (1) (a) and (b)"; and (2) resigned with the alternate assignment requirement of the

         related consent agreement "in mind' 1 and 11 consistent [with] what is defined in [9 NYCRR §]

         6056[.2] (h) (2) (b)" (NYSCEF Doc No. 32 at 1 [hereinafter, the "February 15 letter"]). On

         March 21, 2023, DCJS sent a letter to Petitioner notifying him that, in accordance with General

         Municipal Law§ 209-q (1) (b-1), his "basic training certification [was] permanently invalidated

        · effective immediately and [he was] ineligible for any future certification" (NYSCEF Doc No. 3).

                Petitioner administratively appealed DCJS' March 21 determination on April 20, 2023,

         arguing that his decertification should be reversed because his resignation did not meet the

         definition of removal for cause under 9 NYCRR § 6056.2 (h) inasmuch as he had been returned

         to full duty in good standing prior to his August 31 resignation (see NYSCEF Doc No. 5 at 1-3).

         DCJS issued a response on July 13, 2023, concluding that Petitioner's decertification would not

         be reversed because it had correctly determined that Petitioner had been removed for cause (see

         NYSCEF Doc No. 11 at 2-3).



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                 Petitioner thereafter commenced the instant proceeding, arguing that DCJS has "exceeded

         its authority and has acted arbitrarily and capriciously," and seeking to "void the decertification"

         (NYSCEF Doc No. 1 at ,r 72). DCJS has submitted an answer opposing the relief requested in

         the petition and arguing that its determination was neither arbitrary nor capricious and explicitly

         within its statutory authority (see NYSCEF Doc No. 41). The Glenville Respondents have made

         a pre-answer motion to dismiss, arguing that (I) they are not proper parties to this proceeding;

         (2) any claims against them are time-barred; (3) the GPO is merely a subdivision of the Town of

         Glenville and not an entity amendable to suit; and (4) any alleged acts by Chief Janik were

         legitimate and lawful (see NYSCEF Doc No. 46).

                                                  II. DISCUSSION

         A.      Jurisdiction over the Glenville Respondents

                 1. Proper Parties to tltis Proceeding

                 The Glenville Respondents argue that they are not proper parties to this proceeding

         because, unlike DCJS, they had no "authority to make any final determinations regarding

         Petitioner's decertification" or "to provide the relief he seeks" (NYSCEF Doc No. 46 at 14-15).

         In opposition, Petitioner argues that there is a "dispute" as to who "made the decision" to

         invalidate Petitioner's basic training certification and suggests that both DCJS and the Glenville

         Respondents "are proper parties due to the interrelationship of the decision[-]making process"

         (NYSCEF Doc No. 55 at 12).

                Petitioner's argument that all the parties had shared responsibility in issuing the

         determination to invalidate Petitioner's basic training certification is unpersuasive. New York

         statute clearly gives to DCJS the responsibility for both ( 1) certifying police officers (see

         Executive Law § 841 [3 ]); and (2) the maintenance of a permanent registry for each police



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         officer, including the investigation and removal of police officers who are no longer eligible for

         certification upon their removal for cause under General Municipal Law§ 209-q (see Executive

         Law§ 845 [3] [a], [b]). Although there is no doubt that information provided by or sourced from

         employers like the Glenville Respondents plays a part in DCJS' determination (see 9 NYCRR

         § 6056.4 [d]; Executive Law§ 845 [3] [b]), the Glenville Respondents do not have the power to

         certify or decertify Petitioner; rather, that determination is solely the province of DCJS. 1

         Furthermore, the only reliefrequested in the petition is for the decertification to be voided and

         for Petitioner's training be reinstated (see NYSCEF Doc No. 1 at 172). Only DCJS has the

         authority to grant that relief. In sum, because the Glenville Respondents did not render the

         determination decertifying Petitioner and are without authority to grant the relief requested in the

         petition, they are not proper parties to this proceeding and it must be dismissed insofar as

         asserted against them (see Abreu v Hogan, 72 AD3d 1143, 1144 [3d Dept 2010] [holding that a

         respondent who was not involved in the underlying disciplinary determinations and was without

         authority to grant the reliefrequested by the petitioner was not a proper party to the proceeding];

         see also Schulz v Town ofHopewell Zoning Bd. ofAppeals, 163 AD3d 1477, 1478 [4th Dept

         2018] [holding that a respondent who did not render the underlying determination was not a

         proper party to the proceeding]; Matter of Bosco v McGuire, 111 AD3d 931, 933 [2d Dept 2013]

         [holding that a respondent who did not render the underlying determination and against whom

         the petitioner did not seek any relief was not a proper party to the proceeding]).

                Accordingly, the Glenville Respondents' motion to dismiss on the ground that they are




         1 This conclusion is bolstered by the fact that Petitioner's administrative appeal was addressed to

         DCJS alone (see NYSCEF Doc No. 5 at 1-2), and the subsequent denial of that appeal of his
         decertification came only from DCJS (see NYSCEF Doc No. 11 at 1-3).
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         not proper parties to this proceeding is granted. 2

         B.     The Merits of the Petition with Respect to DCJS

                 1. Standard

                 "'[I]n reviewing an administrative agency determination, [courts] must ascertain whether

         there is a rational basis for the action in question or whether it is arbitrary and capricious' "

         (Natasha W. v New York State Off ofChildren and Family Services, 32 NY3d 982, 984 [2018],

         quoting Matter ofPeckham v Calogero, 12 NY3d 424, 431 [2009]). "An action is arbitrary and

         capricious when it is taken without sound basis in reason or regard to the facts" (Matter of

         Peckham, 12 NY3d at 431, citing Matter ofPell v Board ofEduc. of Union Free School Dist. No.

         1 of Towns ofScarsdale & Mamaroneck, Westchester County, 34 NY2d 222,231 [1974]). "It

         follows that '[i]f the court finds that the determination is supported by a rational basis, it must

         sustain the determination even if the court concludes that it would have reached a different result

         than the one reached by the agency'" (Save Am. 's Clocks, Inc. v City ofNew York, 33 NY3d 198,

         207 [2019], quoting Matter ofPeckham, 12 NY3d at 431 ). "Further, courts must defer to an

         administrative agency's rational interpretation of its own regulations in its area of expertise"

         (Matter ofPeckham, 12 NY3d at 431 [citation omitted]).

                 2. DCJS' Decertification Determination

                 As noted above, a training certification "may be permanently invalidated upon an

         officer's removal for cause" (General Municipal Law§ 209-q [1] [b-1]). A "[r]emoval for cause"

         is, in turn, defined as "an interruption in service ... subsequent to and in connection with

         allegations of misconduct" (see 9 NYCRR § 6056.2 [h]). Petitioner argues he was not




         2 In light of this holding, the Court declines to address the Glenville Respondents' remaining
         arguments.
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          "remov[ed] for cause" within the meaning of Section 6056.2 because there are no "credible facts

          or evidence" that his interruption in service occurred "in connection with" the his misconduct

         (see NYSCEF Doc No. 58 at 7-11). Rather, Petitioner argues that the discipline for his

         misconduct had been "clearly ... resolved" by the time of his resignation (id. at 8-9). 3

                 After careful consideration of the facts of Petitioner's resignation and the language of the

         consent agreement, the Court concludes that Petitioner's argument that his resignation came only

         after "a full resolution of all disciplinary charges" is incorrect. The consent award clearly

         provides that, after serving the 120-day suspension, Petitioner would "be reinstated full time and

         in good standing, subject to the Chiefs discretion to direct an alternate assignment" (NYSCEF

         Doc No. 5 at 1515 [emphasis added]). A plain reading of this language in the context of the

         entire consent agreement leads the Court to conclude that the potential imposition of an alternate

         assignment was part and parcel of the disciplinary consequences Petitioner agreed to in the

         consent award.

                 Petitioner nevertheless argues that the reference to "alternate assignment" in the consent

         award "was never intended to be discipline" because it was not included "as one of the terms of

         the agreement" in paragraph four of the consent award (NYSCEF Doc No. 55 at 14-15). The

         Court does not find this view of the consent agreement to be persuasive because Petitioner has

         not provided (I) any compelling reason to limit the terms of the consent award only to paragraph

         four of the document; or (2) any alternative explanation for why the consent agreement would

         specifically give Chief Janik the discretion to impose alternate assignment on Petitioner once he




         3  Petitioner appears to concede that his resignation constituted "an interruption in service" within
         the meaning of 9 NYCRR § 6056.2 (h) (2) (b); and that his conduct in connection with the
         February 22, 2022 incident met the definition of "misconduct" under 9 NYCRR § 6056.2 (h) (I)
         (see NYSCEF Doc No. 58 at 9).
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         returned to service after his suspension. Relatedly, Petitioner also claims that the GPD policy

         manual (see NYSCEF Doc No. 54) and the Town of Glenville police officers collective

         bargaining agreement (see NYSCEF Doc No. 51) both provide that "alternate assignments can

         NOT be used as discipline" (NYSCEF Doc No. 55 at 13). However, Petitioner fails to provide a

         cite to any specific portion of these two documents and, after a careful reading of both

         documents, the Court itself cannot locate any such prohibition (see NYSCEF Doc No. 54 at 156-

         61 [containing a "CAUSES FOR DISCIPLINE" section but no discussion of prohibited

         discipline]; NYSCEF Doc No. 51 at 39-46 [containing a "DISCIPLINARY PROCEDURE"

         section but no discussion of prohibited discipline]).

                Ultimately, Chief Janik did, in fact, exercise his discretion under the consent agreement

         to impose an alternate assignment on Petitioner after his return. Petitioner was still serving under

         that alternate assignment at the time of his resignation, and even explicitly referenced the

         alternate assignment as the reason for his departure in his resignation letter (see NYSCEF Doc

         No. 5 at 5 ["I have decided to explore other opportunities in law enforcement in lieu of

         continuing the current alternate assignment in Glenville 11 ]). Because Petitioner resigned-i.e.

         had an interruption in service under Section 6056.2 (h) (2)-as a direct response to discipline

         imposed as a result of allegations of misconduct under Section 6056.2 (h) (I), the Court

         concludes that DCJS' finding that Petitioner's resignation constituted "removal for cause" under

         Section 6056.2 (h) had a sound basis in reason and the facts. As a result, DCJS' decision to

         permanently invalidate Petitioner's certification in light of his removal for cause under General

         Municipal Law § 209-q (1) (b-1) had a rational basis.

                Accordingly, the petition is denied.

                                               III. CONCLUSIONS



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                 After carefully reviewing the entire record in this matter, the parties' submissions and the

          applicable law, and for the above-stated reasons it is hereby

                 ORDERED that the Glenville Respondents' motion to dismiss ( ee NYSC F Doc No.

          43) this proceeding as against them is GRANTED; and it is further

                 ORDERED that the petition (see       YSCEF Doc      o. 1) is DENIED.

                 This shall constitute the Decision and Order of the Court. The Court has uploaded this

          original Decision and Order to the case record in this matter as maintained on the   YSCEF

          website whereupon it is to be filed and entered by the County   lerk's Office. Counsel for

         Respondents are not relieved from the applicable provisions of CPLR § 2220 and

          § 202.5-b (h) (2) of the Uniform Rules of Supreme and County Courts insofar as they relate to

         service and notice of entry of the filed documents upon all other parties to the proceeding

         whether accompli shed by mailing or electronic means whichever may be appropriate dependent

         upon the filing status of the party.



              M Q nY)        J   ~   , 2024
         Troy, New York



                                                                           Supreme Court Justice



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         Papers Considered:
         1.     Docket umbers 1-14 (Petition and attached Exhibits)
         2.     Docket umbers 29-40 (Answer and attached Exhibits)
         3.     Docket Number 41 (Memorandum of Law in Opposition to Petition)
         4.     Docket umbers 43-46 (Motion to Dismiss)
         5.     Docket Numbers 50-55 (Memorandum of Law and Affirmation in Opposition to Motion)
         6.     Docket Number 56 (Memorandum of Law in Reply)
         7.     Docket umbers 58-59 (Memorandum of Law and Affirmation in Reply)


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